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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         NORTHERN DIVISION

AMY ANN BARRETT                                                PLAINTIFF

V.                          NO. 3:20CV00006 JM-PSH

ANDREW SAUL, COMMISSIONER OF
SOCIAL SECURITY ADMINISTRATION                                 DEFENDANT

                                     ORDER

      The Court has reviewed the Recommended Disposition submitted by

Magistrate Judge Patricia S. Harris. No objections have been filed. After careful

consideration of the Recommendation and the entire record, the Court concludes that

the Recommended Disposition should be, and hereby is, approved and adopted in its

entirety as this Court’s findings.

      IT IS THEREFORE ORDERED THAT the Commissioner=s decision is

AFFIRMED, and judgment is entered in favor of the Defendant.

      DATED this 9th day of November, 2020.



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                                      UNITED STATES DISTRICT JUDGE
